    Case 3:19-md-02885-MCR-GRJ Document 3424 Filed 09/06/22 Page 1 of 2



                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                            Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION

 This Document Relates to All Cases               Judge M. Casey Rodgers
                                                  Magistrate Judge Gary R. Jones


                                         ORDER

       Consistent with the Order entered on August 30, 2022, ECF No. 3416, the

Court sets the following parameters for the upcoming mediation.

       1.     The multi-day mediation will take place at the United States District

Court, One North Palafox Street, Pensacola, Florida, on dates to be set by Special

Master Randi Ellis.1

       2.     The following attorneys must personally attend on behalf of the

common plaintiffs: Bryan Aylstock, Chris Seeger, Justin Witkin, and Shelley

Hutson.

       3.     The following attorneys and corporate representatives must personally

attend on behalf of 3M Company: Jessica C. Lauria and Michael C. Andolina.

Kevin Rhodes, Executive Vice President and Chief Legal Affairs Officer of 3M

Company, must attend the mediation as the corporate representative with full


       1
       Special Master Ellis was previously appointed to schedule and conduct the mediation by
September 29, 2022. See ECF No. 3416 at 2-3.
   Case 3:19-md-02885-MCR-GRJ Document 3424 Filed 09/06/22 Page 2 of 2
                                                                           Page 2 of 2

settlement authority, subject to Board approval. Courtney Enloe, Senior Vice

President and Deputy General Counsel of 3M Company, will also attend.

      4.     The Aearo defendants remain invited both to participate in the

mediation and to include a mediator of their choosing to collaborate with Special

Master Ellis, so long as the bankruptcy court approves. The Court has not yet been

advised of whether they will do so.

      5.     All written and oral communications made during the mediation are

strictly confidential. With one exception, no participants in the mediation may

disclose confidential information acquired or discussed at the mediation to any

person outside the mediation proceeding. The sole exception to this rule is that 3M’s

counsel and corporate representatives are authorized to communicate with 3M

Company’s Board of Directors and/or upper management as appropriate to facilitate

resolution discussions.    The parties and the mediator(s) will abide by a

confidentiality agreement entered into at the start of the mediation. This agreement

will govern the confidential nature of the mediation discussions both during the

mediation and following the mediation. The unauthorized disclosure of confidential

information by any mediation participant will result in sanctions.

      SO ORDERED, on this 6th day of September, 2022.


                                M. Casey Rodgers
                                M. CASEY RODGERS
                                UNITED STATES DISTRICT JUDGE
